                              NO. 07-00-0174-CV

                           IN THE COURT OF APPEALS

                      FOR THE SEVENTH DISTRICT OF TEXAS

                                 AT AMARILLO

                                   PANEL B

                              OCTOBER 26, 2010




                             JAMES B. CRENSHAW,


                                   Appellant


                                     V.


                   MIDWEST CONCRETE, INC., STEVE HOLBERT,
                    KENNETH THOMAS, AND BEVERLY HOLBERT,


                                   Appellees
                        ____________________________

              FROM THE 137TH DISTRICT COURT OF LUBBOCK COUNTY;

            NO. 97-560,037; HONORABLE CECIL G. PURYEAR, PRESIDING



                             Memorandum Opinion



Before QUINN, C.J., and CAMPBELL and HANCOCK, JJ.

      James B. Crenshaw appeals from the trial court's summary judgment.  We
dismiss the appeal.   On  July  17,  2000,  this  Court  issued  an  opinion
removing this case from the docket and abating it because  appellee  Midwest
Concrete had filed a bankruptcy petition.   The bankruptcy proceedings  were
closed as of July 15, 2010, and  this  court  reinstated  the  case  on  the
docket on September 14, 2010.  Also  on  September  14,  2010,  counsel  for
appellant was notified that appellant's brief was due no later than  October
14, 2010, no extension would be granted, and if the brief was not  filed  by
the deadline, the appeal would be dismissed for  want  of  prosecution.   To
date, no brief or motion to extend the deadline has  been  filed.   Nor  has
the court received any explanation for the omission.

      Accordingly, we dismiss the appeal for want of  prosecution.  Tex.  R.
App. P.  38.8(a)(1); 42.3(b).

                                       Per Curiam




